 

Case 2:06-Cr-20248-SFC-RSW ECF No. 3 filed 05/18/06 Page|D.B Page 1 of 8

 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

THE I-NTED STATES OF AMERICA’ Case'_ 5:06-cr-2024B

Assigned To: O'Meara, John Corbett
Pl&ll'ltlff Referral Judge: Wha|snl R. Steven
’ Filed: 05-10-2006 At U‘I:ZES P|Vl
|ND| LJSA V_ SEALED |ND| (2 DFTS) TA

 

 

V. M
D-l TALAL KHALIL CHAHINE, VIO. 26 U.S.C. § 7201
18 U.S.C. § 2
D-Z ELFAT EL AOUAR,
Det`endants.
/
I N D I C '[ M_"_E N 'l_`
TI-IE GRAND .TURY CHARGES:

General Allegations

TALAL KHALIL CHAHINE, defendant herein, is and was at all times material
to this Indictrnent the sole owner of La Shish, Inc., a Middle Eastern restaurant chain
located in the metropolitan Detroit, Michigan area. TALAL KHALIL CHAHINE
married ELFAT EL AO'UAR, defendant herein, in August 2000. ELFAT EL
AO`UAR Worked for La Shish, Inc. in Various capacities including as the company’s
Vice President of Finance, and shared in assets and income produced by the

restaurants TALAL KHALlL CHAHINE and ELFAT EL AOUAR each personally

 

Case 2:06-Cr-20248-SFC-RSW ECF No. 3 filed 05/18/06 Page|D.€ Page 2 of 8

 

oversaw the handling and disposal oi` cash receipts and negotiable instruments for La
Shish, lnc., as well as the company’s computerized books, records and balance
reports

At the direction ot` TALAL KHALIL CHAHINE, and with the assistance and
active participation of ELFAT EL AOUAR, La Shish, Inc. maintained a double set
of computerized books, records and balance reports one actual and one altered. The
altered books, records and balance reports artificially reduced the amount ot` income
in the form of cash that was actually received by the restaurants To evade
government scrutiny, and With the assistance and active participation of ELFAT EL
AOU.AR, TALAL KHALIL CHAHINE also directed that La Shish, Inc. fail to
deposit a substantial amount of cash receipts from the restaurants Instead, TALAL
KHALIL CHAHINE and ELFAT EL AOUAR had La Shish, Inc. employees convert
millions of dollars into cashier’s checks and also change denomination size from
smaller denominations into larger denominations These conversions were made for
the purpose of transporting the cash outside the United States to Lebanon, away from
government reach and detection TALAL KHAL]L CHAHINE and ELFA.T E.L
AOUAR also skimmed cash by paying employees of La Shish, Inc. all or partly in

cash.

   

Case 2:06-Cr-20248-SFC-RSW ECF No. 3 filed 05/18/06 PagelD.? Page 3 of 8

COUNT ONE: Income Tax Evasion
26 U.S.C. § 7201

D-l TALAL KHALiL CI-IAHINE
D-2 ELFAT EL AOUAR

l. The general allegations are hereby repeated and incorporated herein by
reference

2. From on or about January l, 2000 through on or about April 15, 200`1,
within the Eastem District of Michigan, Southern Division, TALAL KHALIL
CHAHINE, defendant herein, aided and abetted by ELFAT EL AOUAR, defendant
herein, did willfully attempt to evade and defeat a large part of the income tax due
and owing by TALAL KHALIL CHAHINE to the United States of America for the
calendar year 2000,` by preparing and causing to be prepared, and by signing and
causing to be signed, a false and fraudulent U.S. Individual lncorne Tax Return, Forrn
1040, which was filed With the Internal Revenue Service, wherein he under stated his
income by approximately $4,093,846, upon which additional unreported income there
was owing to the United States of America an additional unpaid income tax of
approximately $1,654,167, all in violation of Title 26, United States Code, Section
7201 and Title 18, United States Code, Section 2.

  
 

 

Case 2:OG-Cr-20248-SFC-RSW ECF No. 3 filed 05/18/06 PagelD.8 Page 4 of 8

COUNT TWO: Income Tax Evasion
26 U.S.C. § 7201
D-l TALAL KHALIL CHAHINE
D-2 ELFAT EL AOUAR

l. The general allegations are hereby repeated and incorporated herein by
reference.

2. From on or about January 1, 2001 through on or about April 15, 2002,
within the Eastem District of Michigan, Southern Division, TALAL KHALIL
CI-IAHINE, defendant herein, aided and abetted by ELFAT EL AOUAR, defendant
herein, did willfully attempt to evade and defeat a large part of the income tax due
and owing by TALAL KHALIL CHAHINE to the United States of America for the
calendar year 2001, by preparing and causing to be prepared, and by signing and
causing to be signed, a false and fraudulent U.S. Individual Income Tax Retum, Form
1040, which was filed with the Internal lRevenue Service, wherein he under stated his
income by approximately $4,581,669, upon which additional unreported income there
was owing to the United States of America an additional unpaid income tax of
approximately $1,845,175, all in violation of Title 26, United States Code, Section
7201 and Title 18, United States Code, Section 2.

  
 

Case 2:06-Cr-20248-SFC-RSW ECF No. 3 filed 05/18/06 PagelD.Q Page 5 of 8

COUNT THREE: Income Tax Evasion
26 U.S.C. § 7201
D-l TALAL KHALIL CHAHINE
D-2 ELFAT EL AOUAR

l.` The general allegations are hereby repeated and incorporated herein by
reference.

2. From on or about January 1, 2002 through on or about April 15, 2003,
within the \Eastem District of Michigan, Southem Division, TALAL KHALlL
CHAHINE, defendant herein, aided and abetted by ELFAT EL AOUAR, defendant
herein, did willfully attempt to evade and defeat a large part of the income tax due
and owing by TALAL KHALIL CHAHINE to the United States of America for the
calendar year 2002, by preparing and causing to be prepared, and by signing and
causing to be signed, a false and fraudulent U.S. Individual Income Tax Retum, Form
1040, which was filed with the Intemal Revenue Servioe, wherein he under stated his _
income by approximately $4,73 5 ,385 , upon which additional unreported income there
was owing to the United States of America an additional unpaid income tax of
approximately $1,865,710, ali in violation of Tit]e 26, United States Code, Section

7201 and Title 18, United States Code, Section 2.

  

Case 2:06-Cr-20248-SFC-RSW ECF No. 3 filed 05/18/06 PagelD.lO Page 6 of 8

COUNT FOUR: Income Tax Evasion
26 U.S.C. § 7201

D-l TALAL KHALIL CHAHINE
D-2 ELFAT EL AOUAR

1. The general allegations are hereby repeated and incorporated herein by
reference

2. From on or about J`anuary l, 2003 through on or about April 15, 2004,
within the E`,astem District of Michigan, Southem Division, TALAL KHALIL
CHAHINE, defendant herein, aided and abetted by ELFAT E`.L AOUAR, defendant
herein, did willfully attempt to evade and defeat income tax in the approximate l
amount of 31,593,223 due and owing by him to the United States ofAnierica for the
calendar year 2003, by failing to make an income tax return on or before April 15,
2004, as required by law, to any proper officer of the Internal Revenue Service, by
failing to pay to the Intemal Revenue Service said income tax, and by concealing and
attempting to conceal from the United States of America his true and correct income

and the nature and extent of his assets and the location thereof, all in violation ofTitle

 

 

Case 2:06-Cr-20248-SFC-RSW ECF No. 3 filed 05/18/06 PagelD.ll Page 7 of 8

 

26, United States Code, Section 7201 and Title 18, United States Code, Section 2.

A TRUE BILL.

S/Grand lury Foreperson

Dated: "6;/ 91 055

STEPHEN J. MURPHY
United States Attorney

%/%%é;.e

ERIC M. STRAUS
Chief, Counter-Terrorism Unit

/7._<'/,;7`%{;/1»

KENNETH R. CI-IADWELL
Assistant United States Attorney

M A{M //'f'l¢¢e

JULIE A. BECK
Assistant United States Attorney

 

 

 

 

9 CaSe 2:06-Cr-20248-SFC-RSW ECF No. 3 filed 05/18/06 PageiD.lZ Page 8 of 8

 

 

Crimina| Case Cc sss seasons

United States District Court S::YF":|C\*JT§-` i;i"|\fieara, .iehn Coroett
Eastern District of Michigan _ Fiied; 05_:0_%%0?;?|§'11:2'; §’htn‘a`*'e" _

 

lNDi USA V` SEALED lNDl
N'lilii'i'-.' lt is the responsibility of the Assistsnt U.S. Attorn¢y Sitl"i"€| this f°rm m mm M (2 DFTS) TA

 

l ina n -

t'.`.ompaniori Case Number:

     
    

 

 

 

 

dodge Assigned:

 

 

 

 

l:l Yee l No AUSA’s initiais: ifng

 

 

 

 

 

 

t',ii)\ lH§l USA v. Talai Khaiii (_Jhahine. et. ai.
County where offense occurred : Wavne
… l Feiony _ i:i Niisdemeanor L`_| Petty
l indictment X iinformation no prior complaintl
i;i indictment iinformation based upon prior complaint [cssa numosr: ]
i:i indictment f information based upon Lch s'r.i c (a) {compisto Supersearng section bsisw}.

 

 

 

Superseding to Case No: ` Judge:
iIi Originai case was terminated; no additional charges or defendants
i:i Corrects errors; no additional charges or defendants
iii involves for plea purposes different charges or adds counts
i;i Embraces same subject matter but adds the additional defendants or charges beiow:

Defendant name t Charges

choice /_,7/ % WJ
csra .KENN’ETH R. ci-iAowELL
Assistant United States Attomey

(313i 226-9698
Phone Number

1 Eornpsnion cases are matters in which lt appears that substantially similar evidence will be offered st trial or the same of related parties are present. and the cases arise out oi the same

transaction or occurrence Cases may tie companion cases even though one of them may have already been terminated
siiiss

